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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                             ENTERED
                            UNITED STATES DISTRICT COURT                                 October 09, 2018
                             SOUTHERN DISTRICT OF TEXAS                                 David J. Bradley, Clerk
                                  HOUSTON DIVISION

MARIA ABELDANO and               §
JEANINE POLLION,                 §
Individually and On Behalf of    §
All Others Similarly Situated    §
                                 §
      Plaintiffs,                §                           Civil Action No. 4:16-cv-1044
                                 §
v.                               §
                                 §                           JURY DEMANDED
HMG PARK MANOR OF WESTCHASE, LLC §
D/B/A PARK MANOR OF WESTCHASE    §
                                 §
      Defendant                  §

                        ORDER OF DISMISSAL WITH PREJUDICE

       The Parties have filed their Joint Stipulation of Dismissal with Prejudice in this action. The

Court finds that the Parties Stipulation should be given effect. Accordingly, it is hereby

       ORDERED that Plaintiffs’ claims against Defendant be and the same are hereby dismissed

with prejudice, with each party to bear its own costs and attorney’s fees.



               SIGNED on this ______      October
                              9th day of __________________, 2018.



                                              ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
                                               ______________________________
                                                  U.S. MAGISTRATE JUDGE




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